
In re New Orleans, City of; — Defendant(s); applying for writ of certiorari and/or review; to the Court of Appeal, Fourth Circuit, No. 93CA-1162; Office of Worker’s Compensation, No. 92-04405.
Granted. Judgment of the court of appeal dismissing the city’s appeal of the hearing officer’s judgment compelling it to execute settlement documents is reversed. The letter from the city attorney to plaintiffs attorney dated October 19, 1993 does not constitute an in-court confession of judgment. See Martin v. Holzer Sheet Metal Works, Inc., 376 So.2d 500, 502 (La.1979). For this reason, and the additional reasons assigned by Judge Landrieu in his dissent, the hearing officer erred in compelling the city to execute the settlement documents. Accordingly, the hearing officer’s judgment is vacated and set aside, and the case is remanded to the hear*453ing officer to conduct a hearing on the merits of the claim.
DENNIS, J., not on panel.
